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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLORADO

Criminal Case No. 18-cr-118-RM

UNITED STATES OF AMERICA ,
     Plaintiff,

v.

1. MICHAEL GERBER,

     Defendant.


                                 INDICTMENT
                      ASSAULTING A FEDERAL EMPLOYEE
                             18 U.S.C. § 111(a)(1)

                               CYBERSTALKING
                              18 U.S.C. § 2261A(2)


     The Grand Jury charges:

                      Count 1: Assaulting a Federal Employee
     1.    On or about January 23, 2018, in the State and District of Colorado,

Defendant, Michael Gerber, did intentionally and forcibly assault, resist, oppose,

impede, intimidate, and interfere with P.K., a private security guard who was

assisting employees of the Social Security Administration in the performance of

their official duties. In the course of such actions, Defendant made physical contact

with P.K. by spraying a chemical irritant in P.K.’s face. This conduct violated 18

U.S.C. § 111(a)(1).
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                             Count 2: Cyberstalking

     2.    Between on or about February 10 and on or about February 12, 2018, in

the State and District of Colorado, Defendant, Michael Gerber, did, with the intent

to harass and intimidate R.E., use an electronic communication service, electronic

communication system of interstate commerce, and other facility of interstate

commerce (including text messages and phone calls) to engage in a course of

conduct causing and attempting to cause substantial emotional distress to R.E., in

violation of 18 U.S.C. § 2261A(2).
     DATED this _____14th___ day of _______March___________, 2018.

                                          A TRUE BILL



                                          Ink signature on file in Clerk’s Office
                                          Foreperson

Robert C. Troyer
U.S. Attorney



s/Daniel E. Burrows_____________
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